
*562OPINION.
Maequette :
We are satisfied from the evidence in this proceeding that the debt due to the petitioner from his brother’s estate was not ascertained to be worthless until the year 1920. It is true that the brother died prior to 1920 and that his estate was badly involved, yet it appears that both the attorney for the petitioner and the attorney for the estate considered that there was a possibility that at least a part of the petitioner’s claim would be paid. That the petitioner did not consider his claim worthless prior to the year 1920 is evidenced by the fact that he employed an attorney to look after *563it, and that in the years 1918 and 1920 he went to Lincoln, Nebr., to give it his personal attention, the estate still being in process of settlement. He did not determine that the debt was worthless until the year 1920, when it was definitely ascertained that the assets of the estate would not be sufficient to pay the preferred creditors. We think that the amount of the debt in question was a proper deduction in computing the petitioner’s net income for the year 1920 and we so hold.

Judgment will ~be entered on 15 days' notice, under Rule 50.

